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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     HENRY M. MARTINEZ
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             CASE NO. CR. S-09-313 FCD
                                           )
12                     Plaintiff,          )             STIPULATION AND ORDER TO VACATE
                                           )             STATUS HEARING AND TO SET CHANGE
13         v.                              )             OF PLEA HEARING AND TO EXCLUDE
                                           )             TIME
14   HENRY M. MARTINEZ,                    )
                                           )
15                     Defendant.          )
     _____________________________________ )
16
            This case is currently scheduled for status conference on February 8, 2010. The attorneys for both
17
     parties have conferred and agree that the status conference hearing date be vacated and a change of plea
18
     hearing date of March 1, 2010, at 10:00 a.m. be set.
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            This continuance is being requested because the parties are working on a resolution of the case and
20
     need more time to work on the details of the written plea agreement.
21
            It is further stipulated and agreed between the parties that the period from February 8, 2010,
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     through and including March 1, 2010, should be excluded in computing the time within which trial must
23
     commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for
24
     continuity and preparation of counsel.
25
     ///
26
     ///
27
     DATED: February 5, 2010
28
               Case 2:09-cr-00313-GEB Document 24 Filed 02/05/10 Page 2 of 2


 1                        Respectfully submitted,
 2
     BENJAMIN B. WAGNER                                 DANIEL BRODERICK
 3   United States Attorney                             Federal Defender
 4
 5   /s/ Lexi Negin for                                 /s/ Lexi Negin
     PAUL HEMESATH                                      LEXI NEGIN
 6   Assistant U.S. Attorney                            Assistant Federal Defender
     Attorney for United States                         Attorney for Henry M. Martinez
 7
 8
            IT IS SO ORDERED.
 9
     DATED: February 5, 2010
10                                                  _______________________________________
11                                                  FRANK C. DAMRELL, JR.
                                                    UNITED STATES DISTRICT JUDGE
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